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             EXHIBIT E
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Kasabian, Andrew M.

From:                   Tom.Kelly@AGG.com
Sent:                   Wednesday, April 30, 2025 8:27 AM
To:                     Lori Dumont; Aiken, Matthew G.
Cc:                     Cory Cooper; Maribel Quiala; Matt.Lavin@AGG.com
Subject:                RE: Case No. 20-cv-02254-YGR



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Good morning, Lori –

My name is Tom Kelly, and my firm represents the Plaintiffs and putative class members in the matter referenced
below. I want to provide a brief overview of this matter to ensure STR Addiction Counseling has the full context.

This case involves a scheme by UnitedHealthcare and MultiPlan to underpay over 88,000 out-of-network claims
for intensive outpatient program (IOP) services (HCPCS code H0015) related to mental health and substance use
disorders. At least 11,280 affected patients were insured through United employer-sponsored health plans.

The Court recently reopened discovery after denying Plaintiffs’ class certification motion without prejudice, ruling
that it will consider certifying a class if there is evidence that at least some patients received balance bills for IOP
services from January 1, 2015, to the present. Even stronger would be proof of any payments STR Addiction
Counseling received on those bills.

While United may be focused on a single member, Plaintiffs seek any balance billing information STR
Addiction Counseling may have for IOP services billed to United members during the relevant period. If
payments were made, that information is also highly relevant.

The current discovery deadline is June 14, 2025. If you expect to share any information, please keep that date in
mind. Also, to be clear, STR Addiction Counseling is under no obligation to sign any form declaration provided by
United.

I’m happy to discuss further, if helpful.

Best regards,
Tom


 Thomas E. Kelly
 OF COUNSEL
 d 404.873.8133

 ARNALL GOLDEN GREGORY LLP
 Celebrating 75 Years



From: Lori Dumont <lori.dumont@strbehavioralhealth.com>
Sent: Wednesday, April 30, 2025 10:44 AM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Cc: Cory Cooper <Cory.Cooper@strbehavioralhealth.com>; Maribel Quiala <maribel.quiala@odysseybh.com>; Lavin,
                                                            1
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Matt <Matt.Lavin@AGG.com>; Kelly, Tom E. <Tom.Kelly@AGG.com>
Subject: [EXTERNAL] Re: Case No. 20-cv-02254-YGR


I apologize for the delayed response. I was on vacation.

Can you please provide the member's name by secure email?

Thank you.


Lori A. Dumont, CPA

Chief Financial Officer

STR Behavioral Health

1400 Veterans Highway, Levittown, Pa 19056
P: 267-234-7886 Ext: 109 F: 267-953-2703




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From: Aiken, Matthew G. <MAiken@gibsondunn.com>
Sent: Friday, April 25, 2025 12:32 PM
To: Lori Dumont <lori.dumont@strbehavioralhealth.com>
Cc: Cory Cooper <Cory.Cooper@strbehavioralhealth.com>; Maribel Quiala <maribel.quiala@odysseybh.com>;
Matt.Lavin@AGG.com <Matt.Lavin@AGG.com>; Tom.Kelly@AGG.com <Tom.Kelly@AGG.com>
Subject: RE: Case No. 20-cv-02254-YGR


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support@blacktalonsecurity.com for analysis.

Hi Lori,

I am just writing to follow up on my email of last week. Please let me know if you have any time to discuss later today or
next week. I am also including Plaintiffs’ counsel on this email so that they are aware and informed of any conversations
we have.

Best,
                                                                                     2
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Matthew

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Aiken, Matthew G.
Sent: Wednesday, April 16, 2025 9:33 AM
To: Lori Dumont <lori.dumont@strbehavioralhealth.com>
Cc: Cory Cooper <Cory.Cooper@strbehavioralhealth.com>; Maribel Quiala <maribel.quiala@odysseybh.com>
Subject: RE: Case No. 20-cv-02254-YGR

Hi Lori,

Sorry for the delay, I just received the member name from my client. Feel free to give me a call and I can share it with
you or I can send it via secure email. Please let me know which you prefer. I can also provide dates of service if helpful.

I also know that our subpoena requested a response by April 18. Given that we are just providing the names now we are
extending our requested response date to May 2.

Best,
Matthew


Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Lori Dumont <lori.dumont@strbehavioralhealth.com>
Sent: Thursday, April 10, 2025 2:36 PM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Cc: Cory Cooper <Cory.Cooper@strbehavioralhealth.com>; Maribel Quiala <maribel.quiala@odysseybh.com>
Subject: Case No. 20-cv-02254-YGR
Good afternoon, A subpoena for the above referenced case was delivered to STR Addiction Counseling. The cover letter indicated your office would provide a listing of the specific claims and services at issue so we could limit the scope of our




Good afternoon,



                                                                                                                                                                                                                                                            3
                    Case 4:20-cv-02254-YGR                           Document 477-6                    Filed 06/13/25               Page 5 of 6

A subpoena for the above referenced case was delivered to STR Addiction Counseling. The cover letter
indicated your office would provide a listing of the specific claims and services at issue so we could limit
the scope of our search. I left a voicemail requesting this information.

Thank you.


Lori A. Dumont, CPA

Chief Financial Officer

STR Behavioral Health

1400 Veterans Highway, Levittown, Pa 19056
P: 267-234-7886 Ext: 109 F: 267-953-2703




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